UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                :
SECURITIES AND EXCHANGE COMMISSION,             :
                                                :                    21-CV-11125-LAK
                              Plaintiff,        :
                                                :
            -against-                           :
                                                :
MEDALLION FINANCIAL CORP.,                      :
ANDREW MURSTEIN,                                :
LAWRENCE MEYERS,                                :
and ICHABOD’S CRANIUM, INC.,                    :
                                                :
                              Defendants.       :
________________________________________________:

               [PROPOSED] FINAL JUDGMENT AS TO DEFENDANTS
              MEDALLION FINANCIAL CORP. AND ANDREW MURSTEIN

       The Securities and Exchange Commission (“SEC”) having filed an Amended Complaint

and Defendants Medallion Financial Corp. (“Medallion”) and Andrew Murstein (“Murstein”)

(together, “Defendants”) having entered general appearances; consented to the Court’s

jurisdiction over Defendants and the subject matter of this action; consented to entry of this Final

Judgment without admitting or denying the allegations of the Amended Complaint (except as to

jurisdiction and except as otherwise provided herein in paragraph XI); waived findings of fact

and conclusions of law; and waived any right to appeal from this Final Judgment:

                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants are

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of




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interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                 II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendants are permanently restrained and enjoined from violating Section 17(a)(1), (3) of the

Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any

security by the use of any means or instruments of transportation or communication in interstate

commerce or by use of the mails, directly or indirectly:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.




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       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                  III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendants are permanently restrained and enjoined from violating Section 17(b) of the

Securities Act [15 U.S.C. § 77q(a)] by using any means or instruments of transportation or

communication in interstate commerce or by use of the mails, directly or indirectly, to publish,

give publicity to, or circulate any notice, circular, advertisement, newspaper, article, letter,

investment service, or communication which, though not purporting to offer a security for sale,

describes such security for a consideration received or to be received, directly or indirectly, from

an issuer, underwriter, or dealer, without fully disclosing the receipt, whether past or prospective,

of such consideration and the amount thereof.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                 IV.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant Medallion

is permanently restrained and enjoined from violating, directly or indirectly, Sections 13(a),




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13(b)(2)(A) and (B) of the Exchange Act [15 U.S.C. § 78m(a), (b)(2)(A) and (B)] and Rules 12b-

20, 13a-1, 13a-11 and 13a-13 thereunder [17 C.FR. §§ 240.12b-20, 13a-1, 13a-11 and 13a-13],

by:

       (a)     failing to make and keep books, records, and accounts that in reasonable detail

               accurately and fairly reflect its transactions and disposition of assets;

       (b)     failing to devise and maintain a system of internal accounting controls sufficient

               to provide reasonable assurances that transactions are executed in accordance with

               Defendant Medallion’s management’s general or specific authorization;

               transactions are recorded as necessary to permit preparation of financial

               statements in conformity with generally accepted accounting principles or any

               other criteria applicable to such statements, and to maintain accountability for

               assets; or

       (c)     failing to file with the SEC such financial reports as the SEC has prescribed,

               and/or failing to include, in addition to the information expressly required to be

               stated in such reports, such further material information as is necessary to make

               the statements made therein, in light of the circumstances in which they were

               made, not misleading,

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant

Medallion’s officers, agents, servants, employees, and attorneys; and (b) other persons in active

concert or participation with Defendant Medallion or with anyone described in (a).




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                                                 V.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

Murtstein is permanently restrained and enjoined from aiding and abetting any violation of

Sections 13(a), 13(b)(2)(A) and (B) of the Exchange Act [15 U.S.C. § 78m(a), (b)(2)(A) and (B)]

and Rules 12b-20, 13a-1, 13a-11 and 13a-13 thereunder [17 C.FR. §§ 240.12b-20, 13a-1, 13a-11

and 13a-13] by knowingly or recklessly providing substantial assistance to an issuer that:

       (a)     fails to make and keep books, records, and accounts that in reasonable detail

               accurately and fairly reflect its transactions and disposition of assets;

       (b)     fails to devise and maintain a system of internal accounting controls sufficient to

               provide reasonable assurances that transactions are executed in accordance with

               its management’s general or specific authorization; transactions are recorded as

               necessary to permit preparation of financial statements in conformity with

               generally accepted accounting principles or any other criteria applicable to such

               statements, and/or maintains accountability for assets; or

       (c)     fails to file with the Commission such financial reports as the Commission has

               prescribed, and/or fails to include, in addition to the information expressly

               required to be stated in such reports, such further material information as is

               necessary to make the statements made therein, in light of the circumstances in

               which they were made, not misleading,

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant

Mutstein’s officers, agents, servants, employees, and attorneys; and (b) other persons in active




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concert or participation with Defendant or with anyone described in (a).

                                                VI.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant Murstein is

permanently restrained and enjoined from violating, directly or indirectly, Rule 13b2-2 under the

Exchange Act [17 C.FR. §§ 240.13b2-2] by

       (a)     making or causing to be made materially false or misleading statements to an

               accountant; or

       (b)     omitting to state, or causing another person to omit to state, material facts

               necessary in order to make statements made, in light of the circumstances under

               which such statements were made, not misleading, to an accountant in connection

               with (1) an audit, review, or examination of financial statements required by the

               Exchange Act or rules thereunder, or (2) the preparation of filing of a document

               or report required to be filed with the Commission.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant

Mutstein’s officers, agents, servants, employees, and attorneys; and (b) other persons in active

concert or participation with Defendant or with anyone described in (a).

                                                VII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that:

       (a) Defendant Medallion shall pay a civil penalty in the amount of $3,000,000; and

       (b) Defendant Murstein shall pay a civil penalty in the amount of $1,000,000,

to the Securities and Exchange Commission pursuant to Section 21(d)(3) of the Exchange Act




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[15 U.S.C. § 78u(d)(3)] and Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)].

       Defendant Medallion shall make its payment within 30 days after entry of this Final

Judgment. Defendant Murstein shall make his payment pursuant to the terms of the payment

schedule set forth in paragraph VIII below.

       Defendants may transmit payment electronically to the SEC, which will provide detailed

ACH transfer/Fedwire instructions upon request. Payment may also be made directly from a

bank account via Pay.gov through the SEC website at http://www.sec.gov/about/offices/ofm.htm.

Defendants may also pay by certified check, bank cashier’s check, or United States postal money

order payable to the Securities and Exchange Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Medallion as a defendant in this action; and specifying that payment is made pursuant

to this Final Judgment.

       Defendants shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the SEC’s counsel in this action. By making this payment, Defendants

relinquish all legal and equitable right, title, and interest in such funds and no part of the funds

shall be returned to Medallion or Murstein. The SEC shall send the funds paid pursuant to this

Final Judgment to the United States Treasury.

       The SEC may enforce the Court’s judgment for penalties by the use of all collection

procedures authorized by law, including the Federal Debt Collection Procedures Act, 28 U.S.C.

§ 3001 et seq., and moving for civil contempt for the violation of any Court orders issued in this

action. Defendants shall pay post-judgment interest on any amounts due after 30 days of the



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entry of this Final Judgment pursuant to 28 U.S.C. § 1961.

                                                VIII.

         Defendant Murstein shall pay the total penalty due of $1,000,000 in four installments to

the Commission according to the following schedule: (1) $250,000, within 30 days of entry of

this Final Judgment; (2) $250,000, within 90 days of entry of this Final Judgment; (3) $250,000,

within 180 days of entry of this Final Judgment; and (4) $250,000, within 360 days of entry of

this Final Judgment. Payments shall be deemed made on the date they are received by the

Commission and shall be applied first to post judgment interest, which accrues pursuant to 28

U.S.C. § 1961 on any unpaid amounts due after 30 days of the entry of Final Judgment. Prior to

making the final payment set forth herein, Murstein shall contact the staff of the Commission for

the amount due for the final payment.

         If Murstein fails to make any payment by the date agreed and/or in the amount agreed

according to the schedule set forth above, all outstanding payments under this Final Judgment,

including post-judgment interest, minus any payments made, shall become due and payable

immediately at the discretion of the staff of the Commission without further application to the

Court.

                                                 IX.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein.

                                                 X.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Medallion shall

undertake the following:

         (a)    Undertaking to Retain an Independent Compliance Consultant:




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i. Medallion shall retain, within 45 days of entry of Judgment in this matter, the

   services of an Independent Compliance Consultant (“Independent

   Consultant”) not unacceptable to the staff of the SEC and provide a copy of

   the Amended Complaint and the Consent and Final Judgment to the

   Independent Consultant. Not later than 15 days following the date of the

   Independent Consultant’s engagement, Medallion shall provide the SEC staff

   with a copy of its engagement letter with the Independent Consultant,

   describing the Independent Consultant’s responsibilities, which shall be

   consistent with the terms of the undertakings set forth herein. The

   Independent Consultant’s compensation and expenses shall be borne

   exclusively by Medallion.

ii. The Independent Consultant shall be retained to conduct a review and

   evaluation of the sufficiency of Medallion’s policies, procedures, internal

   controls, processes, and systems in relation to compliance with applicable

   federal securities law requirements concerning (a) internal accounting controls

   in relation to Medallion’s valuation of balance sheet assets; and (b) investor

   communications (excluding documents required to be filed with the

   Commission pursuant to Exchange Act Section 13(a) and rules thereunder),

   including but not limited to unlawful touting and communications via social

   media and other electronic platforms. This review and evaluation shall also

   encompass Medallion’s document retention policies and procedures in relation

   to their sufficiency to provide reasonable assurance that Medallion is able to

   effectively implement and perform relevant procedures.




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iii. The review and evaluation described in paragraph 4(a)(ii) shall encompass

   Medallion’s training policies and procedures, evaluating whether such training

   is sufficient to provide reasonable assurance that relevant Medallion

   employees understand the policies and procedures identified in paragraph

   4(a)(ii)(a) and 4(a)(ii)(b).

iv. Medallion shall fully cooperate with the Independent Consultant’s reasonable

   requests for information concerning the scope of its work.

v. Medallion shall require that, at the end of the Independent Consultant’s

   review, which in no event shall be more than 90 days following its retention,

   the Independent Consultant shall submit a written report to Medallion and the

   SEC Staff that shall include a description of the review performed and any

   recommendations for changes or improvements in Medallion’s policies and

   procedures. To the extent Medallion finds any of the Independent

   Consultant’s recommendations inadequate, unduly burdensome or otherwise

   objectionable, Medallion may meet and confer with the Independent

   Consultant, which may revise its report and recommendations as it deems

   appropriate. In the event Medallion and the Independent Consultant are

   unable to resolve any disagreement regarding any recommendation of the

   Independent Consultant, Medallion shall apply to the Court for relief from the

   obligation to implement the recommendations of the Independent Consultant.

vi. Within 60 days of the issuance of the Independent Consultant’s written report,

   Medallion shall certify to the SEC Staff that it has complied with the




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    Independent Consultant’s recommendations or, to the extent that it has not

    done so, explain the basis for its departure from the Independent Consultant’s

    recommendations.

vii. Medallion’s retention of the Independent Consultant shall provide that on the

    one-year anniversary of the issuance of the Independent Consultant’s report,

    the Independent Consultant shall conduct a follow-on review of Medallion’s

    adherence to the Independent Consultant’s recommendations.

viii.   Medallion shall require that, at the end of the Independent Consultant’s

    one-year follow-on review, which in no event shall be more than 45 days

    following commencement of the follow-on review, the Independent

    Consultant shall submit a final written report to Medallion and the SEC Staff

    describing the review performed and assessing Medallion’s adherence to the

    Independent Consultant’s previous recommendations.

ix. To ensure the independence of the Independent Consultant, Medallion:

    (1) shall not have the authority to terminate the Independent Consultant or

    substitute another independent consultant for the initial Independent

    Consultant without prior written approval of the SEC staff; and (2) shall

    compensate the Independent Consultant and persons engaged to assist the

    Independent Consultant for services rendered pursuant to this Order at their

    reasonable and customary rates.

x. For the period of engagement and for a period of two (2) years from the

    completion of the engagement, Medallion shall not: (1) retain the Independent

    Consultant for any other professional services outside of the services




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                      described in Section IX of the Final Judgment; (2) enter into any other

                      professional relationship with the Independent Consultant, including any

                      employment, consultant, attorney-client, auditing or other professional

                      relationship or; (2) enter into, without prior written consent of the SEC staff,

                      any such professional relationship with any of the Independent Consultant’s

                      present or former affiliates, directors, officers, partners, employees, or agents

                      acting in their capacity as such.

       (b)     Undertaking to Appoint a Chief Compliance Officer:

               i. Within three months of entry of the Final Judgment, Medallion will create a

                      new Chief Compliance Officer (“CCO”) role that will report to the General

                      Counsel. The CCO will have suitable regulatory and compliance experience

                      and will have a dotted reporting line directly to the Chair of the Audit

                      Committee.

               ii. The CCO will report quarterly to the Audit Committee on any significant

                      compliance issues arising during the quarter.

               iii.   The CCO may be removed only with the approval of the Audit Committee.

                                                   XI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

allegations in the complaint are true and admitted by Murstein, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Murstein under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Murstein of the federal




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securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19).

                                                XII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

                                               XIII.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.


Dated: ______________, 2025

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                                              UNITED STATES DISTRICT JUDGE




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